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                                UNITED STATES DISTRICT COURT
                                    DISTRICT OF VERMONT
                                                                                        21fi NOV 30 PH 2: 50
BRIAN CROTEAU, LARRY PRIEST,
RICHARD PURSELL on behalf of themselves
and all other similarly situated,
                               Plaintiffs                      Civil Action No., 5:17- CV- 207
       vs.
CITY OF BURLINGTON
                               Defendant


                                     INTERVENORS' COMPLAINT

TO THE HONORABLE JUDGE GEOFFREY CRAWFORD:

       COMES NOW Mark Flynn, and Curt Fifield prose intervening-plaintiffs complaining of the

City of Burlington and the Hon. Phil Scott, Governor ofthe State ofVermont, in his official capacity as

the chief executive officer of the State, alleging plaintiffs are unconstitutionally restrained in their

liberty, and inter alia being denied their privileges and immunities under 42 U.S.C. § 12101 et seq., and

for their requested relief would show unto the Court as follows ...

                                    JUDICIAL NOTICE REQUESTED

1.     Title 13 V.S.A. § 3901 in relevant part:
       "A transient person, roving from place to place and living without visible means ofsupport who
       begs shall be deemed a vagrant... "

2.      Title 13 V.S.A. § 3902 in relevant part:
        "A vagrant shall be imprisoned for not more than six months or fined not more than $100. 00... "

3.     The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 9 in relevant part:
       "No person shall solicit contributions for charitable ... or other purposes upon the streets or by
       going from place to place within the city unless the person ... for which contributions are
       solicited has filed with the police department a letter stating his name and address ... and the
       dates that contributions will be sought ... "

4.      The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 8 in relevant part:
        "(c) Prohibited acts.

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      (1) No person shall solicit in an aggressive manner in any public place.
      (2) No person shall solicit on private or residential property without permission from the
      owner or other person lawfully in possession ofsuch property.
      (3) No person shall solicit within fifteen (15) feet ofpublic toilets.
      (4) No person shall solicit within fifteen (15) feet of any entrance or exit of any financial
      institution or check cashing business or within fifteen (15) feet of any automated teller machine
      without the consent of the owner of the property or another person legally in possession ofsuch
     facilities. Provided, however, that when an automated teller machine is located within an
      automated teller machine facility, such distance shall be measured from the entrance or exit of
      the facility.
      (5) No person shall solicit while under the influence of alcohol or a controlled substance.
      (6) No person shall solicit by stating that funds are needed to meet a specific need, when the
     solicitor has the funds to meet that need, does not intend to use funds to meet that need or does
      not have that need
      (7) No person shall solicit in any public transportation vehicle, or within fifteen (15) feet of
     any handicapped parking space, taxicab stand, bus, train or subway station or stop or in any
     public parking lot or structure or dedicated walkway to such parking lot or structure.
      (8) No person shall solicit within fifteen (15) feet ofan entrance to a building.
      (9) No person shall solicit within fifteen (15) feet ofany valid vendor location as set forth in
     Chapter 23 of this Code of Ordinances.
      (1 0) No person shall solicit within fifteen (15) feet of any pay telephone or public information
      booth, board or other structure, provided that when a pay telephone is located within a
     telephone booth or other facility, such distance shall be measured from the entrance or exit of
     the telephone booth or facility.
      (11) No person shall solicit in an area unless the area is sufficiently illuminated to allow the
     solicitee to fully observe the solicitor at a distance offifteen (15) feet.

5.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 2 § 1 in relevant part:
     "Street. The word 'street' shall include the entire width between property lines of every way
     used for vehicular and pedestrian travel which has become public by authority of the law, and
     such ways in public places other than highways as the public is permitted to use for vehicular
     and pedestrian traffic. "

6.    The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 21
      "No person while upon any street within the city, shall endeavor by words, gestures or
     otherwise, to beg, invite or secure transportation in any motor vehicle not engaged in carrying
     passengers for hire, unless said person knows the driver ofsuch motor vehicle, or the owner or
     other person then riding therein; provided, however, that nothing in this section shall prohibit
     the solicitation of aid in the event ofaccident or by persons who are sick or seeking assistance
     for the sick; and provided further, that this exception for sickness shall apply only in case of
     bona fide sickness in which an emergency exists. Such practice is hereby declared to be a public
      nuisance. "

7.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 8 in relevant part:
     "(c)    Prohibited acts. (1)   *** (2) *** (3) *** (4) *** (5) *** (6) ***
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      (7) No person shall solicit in any public transportation vehicle, or within fifteen (1 5) feet of
      any handicapped parking space, taxicab stand, bus, train or subway station or stop or in any
      public parking lot or structure or dedicated walkway to such parking lot or structure.
      (8)   *** (9) ***
8.    The Code of Ordinances ofthe City of Burlington, Vermont, Chapter 21 § 22 in relevant part:
      "It shall be unlawful for any person to use indecent, profane or insulting language in a street or
      public place or near a dwelling house or building within the city.

9.    The Code of Ordinances of the City of Burlington, Vermont, Chapter 1 § 2 in relevant part:
      "Public place. The words ''public place" shall mean any park, cemetery, school yard or open
      space adjacent thereto, all streets and parking fields and all waterways.

10.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 8 in relevant part:
      "(c) Prohibited acts. (1) No person shall solicit in an aggressive manner in any public place.
      Soliciting shall mean asking for money or objects of value in a public place, with the intention
      that the money or object be transferred at that time, and at that place. Soliciting shall include
      using the spoken, written or printed word, bodily gestures, signs or other means with the
      purpose of obtaining an immediate donation ofmoney or other thing of value or soliciting the
      sale ofgoods or services. However, this ordinance is not intended to prescribe any demand for
      payment for services rendered or goods delivered. Nor is this ordinance or the definition of
      solicitation intended to include or prescribe fixed advertising attached to an existing premises.
      Nor is it intended to include or prescribe signs or written material allowed under city
      ordinance section 21-5 or any other applicable city ordinance, regulation, license or permit.
      Aggressive manner shall mean any ofthefollowing: a. ***b. Continuing to solicit from a
      person or continuing to engage that person after the person has given a negative response to
      such soliciting; c. ***d. ***e. Using ***obscene ***gestures toward a person solicited; f
      Following the person being solicited, with the intent ofasking that person for money or other
      things of value ... g. Speaking in a volume unreasonably loud under the circumstances;
      Public place shall mean a place where a governmental entity has title to or which the public or
      a substantial group ofpersons has access, including but not limited to any street, highway,
      parking lot, plaza, transportation structure, facility or vehicle, school, place of amusement,
      park, playground or sidewalk or to the doorways and entrances to buildings or dwellings, or
      grounds enclosing them thereupon.

11.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 9 in relevant part:
      "No person shall solicit contributions for charitable ... or other purposes upon the streets or by
      going from place to place within the city unless the person ... for which contributions are
      solicited has filed .. . provided within the Church Street Marketplace District such filing will
      be with the Church Street Marketplace District Administrator through whom a permit may be
      granted pursuant to Chapter 23 of this Code.

12.   Chapter 23 § 15 Church Street Marketplace District peddlers and solicitors.
      (a) Certificate required. ***


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 (b) Definitions. (1) *** (2) *** (3) *** (4) Solicitors. Persons or organizations requesting
financial contributions or distributing information concerning a political person or
organization. (5) *** (6) *** (7) *** (8) *** (9) *** (10) *** (11) Person. Any individual,
married couple, partnership with five (5) or fewer partners or corporation with five (5) or fewer
shareholders.
 (c) Administration.
(1) Certification by commission. The commission administers the certification and siting of all
peddlers and solicitors in the district.
 (2) ***
 (3) Granting of certificates. Annual certificates may be granted by the commission for the
following categories ofpeddler: ***
Seasonal certificates may be granted by the commission for the following category ofpeddler:
***
Weekly certificates may be granted by the commission for the following categories ofpeddler:
***
Twenty-four hour permits may be granted by the commission for the following categories of
peddlers and solicitors: ***Persons or organizations who wish to set up a booth or stand for
noncommercial purposes.
a. ***b. ***c. *** d Booths or stands for noncommercial purposes. Persons wishing to set up
a booth or stand for noncommercial purposes pursuant to this section shall file an application
with the commission, therein stating or submitting the following:
1. The name and mailing address of the applicant.
2. A description of the activity the applicant proposes to undertake.
3. A declaration that the applicant or specified designee will be present at the proposed
activity for the duration of the permit period and will have the certificate available for
inspection at all times during the permit period
The applicant need not obtain liability insurance, however, as required pursuant to Section 23-
15(c)(5) and (6), provided the applicant agrees in writing to hold and save the city harmless for
any and all liability arising out of the activity undertaken by the applicant.
(4) *** (5) *** (6) Issuance of twenty-four-hour certificates. Upon receipt of a satisfactorily
completed application, the requisite fee ... the administrator shall forthwith issue the
appropriate twenty-four-hour certificate, as long as space is available, as provided under this
section or the regulations adopted now or hereafter by the commission, and provided further
that the applicant is not in violation of any applicable provision of this Code. The administrator
shall notifY the commission of all actions on twenty-four-hour certificates at the next regular or
special meeting of the commission next following such action(s). Any denial of a twenty-four-
hour certificate may be appealed by the applicant to the commission, provided such appeal is in
writing and filed with the commission within three (3) working days of the denial. The
commission shall hear such appeal at its next regular or special meeting and shall render its
decision within fifteen (15) days thereafter.
(d) ***(e) Transfer and display of certificate. (1) Except as specified in subparagraph (2)
below, no certificate issued under the provisions of this section shall be used or worn at any
time by any person other than the one to whom it was issued or that persons employee, as
provided for under subsection (g) below. A certificate holder or his employee shall display the
certificate at all times while that person is peddling or soliciting. Failure to do so shall be


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considered cause for revocation ofsuch certificate. Such revocation shall not entitle the former
certificate holder to any rebate on fees paid. (2) ***
(f) Certificate period. (I) *** (2) *** (3) *** (4) Twenty-four-hour certificates. Twenty-four-
hour certificates shall be valid for a period of twenty-four (24) hours ending at midnight of the
day specified on such certificate by the administrator. (5) ***
(g) Employees. A certificate holder may utilize the services of three (3) employees who shall
otherwise meet the requirements provided for in Section 23-7(b) of this Code. The fee for each
employee shall be jive dollars ($5. 00) per three-month period.
(h) Fees. (I) On or before June thirtieth of each year, the board ofaldermen, upon the
recommendation of the commission, will set fees for marketplace peddling and soliciting/or the
ensuing fiscal year commencing July first. The board ofaldermen, upon recommendation of the
commission may set different fees for each category of marketplace peddler.
 (2) The commission may factor fees by zone.
 (3) There shall be no proration offees, unless otherwise provided for in this section or the rules
and regulations now or hereafter promulgated by the commission.
 (/) Commission-issued carts and commission-provided storage areas. Certificate holders may
contract with the commission for use of commission-owned carts or storage space upon
arrangements agreed to by the commission. Any fees charged shall be in addition to the
certificate fee provided for herein.
 (j) Peddling in the Wintergarden (the alley way at 60-64 Church Street extending from Church
Street eastward to the municipal parking garage) and in the bus shelter at the northeast corner
of Church and College Streets. The commission may contract with peddlers to use space in the
 Wintergarden and/or in the bus shelter upon arrangements and the payment offees deemed
suitable by the commission.
 (k) Special festivals, exhibits, markets. The commission may contract with persons or
 organizations to use portions of the Marketplace for festivals, exhibits, markets or the like upon
arrangements and the payment offees deemed suitable by the commission.
 (!) Certificate suspension or revocation. On advice of the administrator, the commission may
suspend or revoke a certificate without providing any rebate offees to the certificate holder if
the certificate holder:
 (I) *** (2) Has a display stand or cart which differs from that submitted in the photograph to
 the commission; (3) Has a display stand or cart whose dimensions substantially differ from
 those approved by the commission; (4) Fails to keep the area surrounding the stand or cart
 clear oftrash, debris, snow or ice for a distance offour (4)feet; (5) Uses a motor vehicle in the
district for      the purpose ofselling merchandise; (6) Keeps animals of any kind near the stand
 or cart; (7) Uses parking meters, utility poles, trees, or property other than the peddler or
solicitors own stand or cart to advertise in any manner; (8) Fails to remove the stand or cart at
 the end of every business day; (9) Attempts to obtain the economic benefits from more than one
 location within the jurisdiction of the commission; (I 0) Fails to operate from the site specified
 by either the commission or the administrator, as appropriate; (11) Fails to display the
certificate issued at all times while peddling or soliciting; (12) Or in any other manner violates
any provision of this section or violates any of the terms and conditions of the certificate
 issued. Prior to suspending or revoking a certificate, the commission shall notifY the certificate
holder of the time, place, and nature of the hearing, shall specifY the legal authority and
jurisdiction under which the hearing is to be held, shall reference the particular section of the
ordinance or


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      regulations involved, shall set forth a short and plain statement of the matters at issue, and shall
      provide the certificate holder with an opportunity to respond to any charges and present
      evidence and argument on all issues involved. The provisions of 3 V.S.A. Chapter 25 pertaining
      to contested cases shall govern any hearings conducted hereunder.

13.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 21 § 28 in relevant part:
      "No person shall permit his buildings or other place to be used, frequented or resorted to by any
      vagrants therein or thereabout...

14.   Title 13 V.S.A. §§ 3901-02 in relevant parts:
      "A transient person, roving from place to place and living without visible means ofsupport, who
      enters or attempts to enter a dwelling house, barn or other building without the permission of
      the owners or occupants thereof, shall be deemed a vagrant. " "A vagrant shall be imprisoned
      for not more than six months or fined not more than $100.00.

15.   Title 13 V.S.A. § 3905 in relevant part:
      "A vagrant having entered premises who persists in remaining against the will of the owner or
      occupant thereofshall be imprisoned not more than two years not less than six months.

16.   The Code of Ordinances of the City of Burlington, Vermont: Chapter 21 § 24:
      "No person shall urinate or defecate in any street, park or other public place except in facilities
      specifically provided for this purpose.

17.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 1 § 2 in relevant part:
      "Public place. The words ''public place" shall mean any park, cemetery, school yard or open
      space adjacent thereto, all streets and parking fields and all waterways.

18.   Title 13 V.S.A. § 3905 in relevant part:
      A vagrant kindles a fire on the lands, or in the public highway adjoining the lands, of any
      person between May 1 and December 1, without the consent of the owner or occupant thereof
      shall be imprisoned for not more than two years nor less than six months.

19.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 13 § 3 in relevant part:
      "(a) * * *
      (b) No person shall build an outside fire, open or contained ... or permit the same to remain
      burning at any time in the city without obtaining a written permit from the chief of the fire
      department, a deputy chief or one (1) of the fire wardens of the city, except upon the terms and
      conditions ofsuch permit.

20.   The Code of Ordinances of the City of Burlington, Vermont, Chapter 22 § 10:
      "No person, except by authority of the park commission, shall light, kindle or use any fire in
      any of the city parks.

21.   The Code of Ordinances ofthe City of Burlington, Vermont, Chapter 22 § 19:

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      "No person shall bathe in any waters in or adjacent to any of the city parks, except in such
      places and subject to such regulations as the park commission may from time to time especially
      designate by a public notice set up for that purpose within the park.

22.   The Code of Ordinances of the City of Burlington -Appendix D (4) Beaches and waterfront
      areas.
      "(A) Prohibited Activities:
      (1) Changing clothes except in bathhouse.
      (2) ***
      (3) Swimming between the hours of8:30 p.m. and 9:30a.m. during the summer season or at
      any time before the beaches are opened for the season or after they are closed for the season.
      (4)   ***
      (5)    Swimmingfrom or at Perkins Pier.

23.   The Code of Ordinances of the City of Burlington, Chapter 21-43 in relevant part:

      (a)    Prohibited activities. The following activities are prohibited at the Fletcher Free Library.
      (1)   *** (2) *** (3) *** (4) Bathing or laundering in restrooms...

24.   Title 13 V.S.A. 3905 in relevant part:
      "A vagrant who is found carrying a firearm or other dangerous weapon shall be imprisoned not
      more than two years nor less than six months.

25.   Title 13 V.S.A. § 4003:
       "A person who carries a dangerous or deadly weapon, openly or concealed, ***or who carries
      a dangerous or deadly weapon within any state institution or upon the grounds or lands owned
      or leased for the use ofsuch institution, without the approval of the warden or superintendent of
      the institution, shall be imprisoned not more than two years or fined not more than $200.00, or
      both.

26.   Title 13 V.S.A. § 4005 in relevant part:
      "* * * a person who carries a dangerous or deadly weapon, openly or concealed, while
      committing a felony shall be imprisoned not more than five years or fined not more than
      $500.00, or both.

27.   Title 13 V.S.A. § 4016 (2) in relevant part:
      "Dangerous or deadly weapon" means any * * * other weapon, device, instrument, material or
      substance, whether animate or inanimate, which in the manner it is used or is intended to be
      used is known to be capable ofproducing death or serious bodily injury.

28.   The Code of Ordinances of the City of Burlington, Chapter 21 § 43 in relevant part:
      (a) Prohibited activities. The following activities are prohibited at the Fletcher Free Library.


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      (1) *** (2) *** (3) Possessing open or opened intoxicants, food or beverages or being under
      the influence of intoxicating liquor as defined in 23 VS.A. § 1200(4) or drug as defined in 23
      VS.A. § 1200(2).
      (4)   Bathing or laundering in restrooms.
      (5)   Sleeping.
      (6)   Being barefoot or shirtless.
      (7) *** (8) *** (9) *** (1 0) Any behavior that disturbs or may interfere with other peoples
      use of the library or behavior that is otherwise illegal.

29.   Regulations promulgated by the municipal library:
      "The Following Activities Are Prohibited at the Fletcher Free Library, Rule 11. Loitering."

30.   Regulations promulgated by the municipal library:
      Posted restroom access policy and custom ofrestricting access to toilets to select patrons who
      can provide a "library card" or acceptable government issued "identification."

31.   The Code of Ordinances of the City of Burlington, Chapter 21 § 46 in relevant part:
      It shall be unlawful for a person who, with the intent to cause public inconvenience, or
      annoyance or recklessly creating a risk thereof (a) ***(b) ***(c) In a public place uses
      abusive or obscene language; or (d) Without lawful authority, disturbs any lawful assembly or
      meeting or persons; or (e) ...

32.   The Code of Ordinances of the City of Burlington, Chapter 21 § 48 in relevant part:
      (a) Prohibited activities. Notwithstanding other rules and regulations, the following activities
      are prohibited at City Hall Park and may be ticketed under this section.
      (1) Disorderly conduct. Any person who, with the intent to cause public inconvenience, or
      annoyance or recklessly creating a risk thereof a. ***b. ***c. In a public place uses abusive
      or obscene language; or d. Without lawful authority, disturbs any lawful assembly or meeting or
      persons; or e....
      (2) ***
      (3) Possession of open or opened intoxicating liquor as defined in 23 VS.A. § 1200(4), except
      as permitted pursuant to an outdoor consumption permit for properly organized and supervised
      activities or events held within the limits of City Hall Park.
      (4) Possession of a regulated drug as defined in 18 VS.A. § 4201 (29) ...

33.   The Code of Ordinances of the City of Burlington, Chapter 21 § 49 in relevant part:
       (a) ***
       (b) *** (1) *** (2) *** (3) Laws intended to preserve and protect public spaces like the Church
      Street Marketplace District for the benefit ofall people are effective only if those present on the
      space obey the law. The current criminal and civil penalties for violating these types of laws are
      frequently inadequate to deter the illegal behavior, to prevent its recurrence, or to provide for
      the removal of offenders from the public space; (4) Compliance with behavior laws within the
       Church Street Marketplace District will be enhanced by the immediate administrative sanction
      ofremoving offenders from the Church Street Marketplace District in addition to issuing tickets

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      to them. For repeat offenders and for more serious offenses, exclusion for extended periods will
      further provide a necessary additional remedy to protect the public; (5) The failure to comply
      with these and other laws creates a public nuisance.
       (c) Prohibited activities. Notwithstanding other laws, ordinances, rules and regulations, the
      following activities are prohibited within the Church Street Marketplace District and may result
       in a no trespass order authorized under this section. (1) *** (2) *** (3) Possession of open or
       opened intoxicating liquor as defined by 23 V.S.A. § 1200(4), except as permitted pursuant to a
      valid liquor license and/or an outdoor consumption permit for properly organized and
      supervised activities or events held within the limits of the Church Street Marketplace District;
       (4) Possession ofa regulated drug as defined in 18 V.S.A. § 4201 (29) ... "

                                      NATURE OF THE ACTION

34.    This suit is similar to other "homeless" litigation that has occurred and is occurring nationally in

our Federal District Courts (e.g., Houston, TX., Civil Action No. 17-cv-1473; Denver, CO., Civil

Action No. 16-cv-2155-WJM-CBS). Such cases reflect a profound shift in demographics- a deepening

socioeconomic divide. Today some 40.6 million Americans live in poverty (U.S. Census Bureau).

35.    The American population has almost quadrupled during the 20th century-from about 76

million in 1900, to 200 million in 1968, to the 300 million mark in October 2006. In the 1940s- when

the U.S. population stood at approximately 132.1 million (less than half of today's population)- 44%

of the population was rural (thus fairly evenly split). At the last census the U.S. population had grown

to approx. 324.9 million but over 80% are living in urban areas (U.S. Census Bureau).

36.    On first-face the total rural population appears largely static (over the past 77 years) but there is

something also unprecedented afoot in rural America. Some 1,350 non-metro counties lost population

from 2010 through 2016 - a new record. Migration accounted for that decrease - yet the percentage of

residents moving away from rural counties was even higher in the 1950s, 1960s and 1980s. What has

revealed a changed status quo is a steady decline over the decades in natural population increase in

rural America (births minus deaths). Such decreasing birth-rate is no longer large enough to offset the

out-migration. In hundreds of rural counties deaths now outpace births (Bureau of Labor Statistics).

37.    Such tidal population shift has brought never before seen new realities. Homelessness in Los

Angeles County soared by 23% in a mere year. Remarkable because it represented an increase from

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46,874 to 58,000 individuals. In 2016 New York City estimated it's unsheltered at 73,523; Seattle

10,730; District of Columbia 8,350; Boston 6,240; Los Vegas 6,208; Philadelphia 6,112; Denver 5,500

homeless individuals. Yet these numbers (typically from one-day "point in time" surveys) are widely

agreed to be an under-count as to everyone who experiences housing-insecurity in a given year [to

provide some statistical context a one-day census (on any given day during the year) of the jailed

population in Travis County Texas is approximately 2,500 inmates as a daily reported average but such

facility will incarcerate more than 70,000 discrete inmates over a year's time]. Far more apparent is

unsheltered population within some urban areas are equal or greater than the total populations of many

smaller towns and cities (e.g., Burlington) - even when such homeless numbers reflect just a flawed

one-day survey.

38.    The National Law Center on Homelessness & Poverty has tracked 187 cities since 2006 to

determine the relative increase or decrease of criminalization laws over time:

       "Bans on camping city-wide have increased by 69%.
       "Bans on camping in particular places have increased by 48%.
       "Bans on sleeping in public city-wide have increased by 31%.
       "Bans on sitting and lying down in public have increased by 52%.
       "Bans on loitering, loafing, and vagrancy city-wide have increased by 88%.
       "Bans on loitering, loafing, and vagrancy in particular public places have increased by 14%.
       "Bans on panhandling city-wide have increased by 43%.
       "Bans on panhandling in particular public places have increased by 7%.
       "Bans on living in vehicles has increased by 143%.

39.    In 1797, the Vermont Legislature enacted a law that required: "That every town and place in

this state shall relieve, support and maintain their own poor. .. " This law was predicated upon 300 years

of European history- most notably the Elizabethan Poor Laws (which topic is more fully set forth in

our earlier Motion for Continuance - which history is incorporated herein by reference). That Vermont

law only provided a broad outline for the care of this state's poor such that practices were not uniform

place to place. Suffice the first poor house in Burlington was established in 1816. It would be relocated


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several times - but continue in existence until 195 8 (over a century) (the last location is now the site of

Smith Elementary School). By 1916 Chittenden County had five poor farms: in Burlington, Charlotte,

Colchester, Milton, and Williston. These publicly funded institutions (alms houses, poor houses, houses

of correction, poor farms) were common throughout the state e.g., Stowe, Rutland, Benington. The last

Vermont poor farm to close was in Sheldon in 1968 -but the last overseer would continue until 1982 in

Bakerfield, Vermont. The take-away is that for over half a millennium caring for the poor was a duty of

municipalities and it is only in the past fifty years the present social experiment of federalizing poor

relief has been attempted.

40.    The 1797law set lofty goals. The actual results were often less than admirable. Most towns

focused upon "support and maintain their own poor." (emphases added). New arrivals were often

"warned out" of town or suffered worse. Town selectmen actually selected who could reside - since the

expense of caring for the poor impacted local taxes and town budgets. In 1817 the Vermont Assembly

tried legislatively to put an end to warning outs - but communities continued to dispute the origins and

residency of the drifting poor - and such conflicts caused more lawsuits between towns than any other

cause in the 19th century. Wells, "History ofNewbury, Vermont" at pg. 285.

41.    Burlington- the largest metropolitan area in Vermont- has never been immune from the social

dilemma of poverty and continues to this present day to regulate its poorest unsheltered inhabitants.

       "NOW, THEREFORE, BE IT RESOLVED that the City Council directs the Ordinance
       Committee to draft an ordinance that creates a criminal penalty for repeat offenders of these
       types of violations of aggressive and disruptive behavior, such as, but not limited to, public
       urination, public drunkenness, littering, and sexually aggressive catcalling and that the
       Ordinance Committee shall bring such ordinance back to the full Council as soon as possible
       but no later than the council's second meeting in November." [2017].

42.    It is now common knowledge the "Black Codes" (a.k.a. Jim Crow Laws) unconstitutionally

disenfranchised emancipated southern slaves and their descendants of their civil liberties. Vagrancy

laws played a significant role. Part of that history can also be found associated with 42 U.S.C. § 1981

and a truly unfortunate century-long denial by the federal bench to uphold such unambiguous anti-
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discrimination law. Across the nation, and here in New England, the equivalent- Jim Crow's northern

cousin- is much alive as to the long-held enmity towards "vagrants," "vagabond," "tramps,"

"mendicants," "loiters," "beggars" "panhandlers" "transients" "addicts" and "homeless." It is an

enduring prejudice spanning millennia with often life or death consequences.

                                       JURISDICTION AND VENUE

43.     This is a civil rights action arising under 42 U.S.C. § 1983 and the First and Fourteenth

Amendments to the United States Constitution and the Supremacy Clause (Article VI, clause 2) of the

United States Constitution. And Title II of the Americans with Disabilities Act- 42 U.S.C. § 12131

(hereinafter ADA) and 29 U.S.C. 794(a) § 504 ofthe Rehabilitation Act of 1973 (hereinafter Rehab

Act).

44.     This Court has jurisdiction under 28 U.S.C. § 1331 (federal question jurisdiction) and§ 1343

(civil rights jurisdiction). The Court also has supplemental jurisdiction under 28 U.S. Code§ 1367, as

to inter-related questions arising under the Vermont Constitution.

45.     Venue in this district is proper under 28 U.S.C. § 1391(b)(1), because the City of Burlington

resides in this district and under§ 1391(b)(2), because a substantial part of the events giving rise to the

Plaintiffs' claims occurred in this district.

46.     Title 42 U.S.C. § 1983, provides: "Every person, who under color of any statute, ordinance,

regulation, custom or usage of any state or territory or the District of Columbia subjects or causes to be

subjected any citizen of the United States or other person within the jurisdiction thereof to the

deprivation of any rights, privileges or immunities secured by the constitution and law shall be liable to

the party injured in an action at law, suit in equity, or other appropriate proceeding for redress ... "

47.     Title 42 U.S.C. § 12132 provides "no qualified individual with a disability shall, by reason of

such disability, be excluded from participation in or be denied the benefits of the services, programs, or

activities of a public entity, or be subjected to discrimination by any such entity."


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48.    29 U.S.C. 794(a). Section 504 provides that: "No otherwise qualified individual with a

disability in the United States* * * shall, solely by reason of her or his disability, be excluded from the

participation in, be denied the benefits of, or be subjected to discrimination under any program or

activity receiving Federal financial assistance * * *."

                                                  PARTIES

49.    Intervening plaintiff Mark Flynn,

50.    Intervening plaintiff Curt Fifield,

51.     Original plaintiffs Brian Croteau, Larry Priest, Richard Pursell,

52.    Defendant City of Burlington is a municipality organized under the laws of the State of

Vermont.

                                         PROPER THIRD-PARTY

53.     The Hon. Governor of Vermont is a proper party defendant as the chief executive officer of the

state and is sued in his official capacity for non-monetary relief, i.e., for declaratory and injunctive

relief as to the prospective execution of challenged State laws. Intervenors request leave for third-party

practice to join such party to this suit as provided by Rule 14, Fed. Rules Civ. Procedure.

                                          STANDING -Article III

54.     Plaintiffs allege the statute(s), ordinance(s), regulation(s), custom(s) or usage(s) for which

judicial notice was sought or herein cited violate their federal rights as herein set forth.

55.     More fully plaintiffs allege the statutory-scheme is unconstitutional as applied to the particular

facts that their case presents.

56.     Alternatively, plaintiffs facially challenge such public acts including under the over-breadth

doctrine applicable to First Amendment violations.




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57.    Further notwithstanding the typical requirement for standing- plaintiffs alternatively assert jus

tertii (Latin, "third party rights") standing. Under this doctrine a person may enforce or test the

constitutional rights of another (which usually can't be done due to lack of standing). See, e.g., New

York State Club Ass'n v. City ofNew York, 487 U.S. 1, 11, (1988), "[E]ven though it may be validly

applied to the plaintiff and others, it nevertheless is so broad that it 'may inhibit the constitutionally

protected speech of third parties. 'City Council v. Taxpayers for Vincent, 466 U S. 789, 798 (1984).

Properly understood, the latter kind offacial challenge is an exception to ordinary standing

requirements, and is justified only by the recognition that free expression may be inhibited almost as

easily by the potential or threatened use ofpower as by the actual exercise of that power. Thornhill v.

Alabama, 310 US. 88, 310 US. 97-98 (1940). Both exceptions, however, are narrow ones: the first

kind offacial challenge will not succeed unless the court finds that 'every application of the statute

created an impermissible risk ofsuppression of ideas, 'Taxpayers for Vincent, supra, at 466 U S. 798,

n. 15, and the second kind offacial challenge will not succeed unless the statute is 'substantially' over-

broad, which requires the court to find 'a realistic danger that the statute itselfwill significantly

compromise recognized First Amendment protections ofparties not before the Court.466 US. at 801.

Further, it is also possible where there is a close connection between the person whose rights are

violated and the person wishing to enforce them, and the constitutional right being enforced is a

fundamental right. See e.g., Craig v. Boren, 429 U.S. 190 (1976); Singleton v. Wulff et al., 428 U.S.

106 (1976).

58.    Also, please see: Making Sense ofFacial and As-Applied Challenges, William & Mary Bill of

Rights Journal, Volume 181 Issue 3 Article 4 (2010) by Alex Kreit. "This Article argues that these

important questions remain unanswered because categorizing constitutional cases into ''facial" and

"as-applied" challenges, and relying on these categories to shape doctrine and inform case outcomes,

is an inherently flawed and fundamentally incoherent undertaking." And Cornell Law Faculty



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Publications Faculty Scholarship, Paper 110, Facial Challenges to State and Federal Statutes (1994) by

Prof, M.C. Dorf. Also, Fact and Fiction about Facial Challenges, 99 Cal. L. Rev. 915 by Richard H.

Fallon Jr., (2011). Available at: http://scholarship.Law.berkeley.edu/californialawreview/vol99/iss4/1 -

Such authoritative argument (the common criticism all three authors present) is herein adopted by

intervening plaintiffs in support of their claim of standing.

                     STANDING -Americans with Disables Act I Rehabilitation Act

59.    Your plaintiffs are disabled within the meaning of ADA or the Rehab Act.

       42 USC § 12131 (2). "The term "qualified individual with a disability" means an individual
       with a disability who, with or without reasonable modifications to rules, policies, or practices,
       the removal of architectural, communication, or transportation barriers, or the provision of
       auxiliary aids and services, meets the essential eligibility requirements for the receipt of services
       or the participation in programs or activities provided by a public entity."



60.    Alternatively, Title II and III of the ADA prohibits discrimination based on disability in general

terms. It extends reliefto "any person alleging discrimination on the basis of disability." 42 U.S.C. §

12133. That "person" need not be an individual with a disability. That person may be an entity or

anyone who is injured by a covered entity's discrimination. Obviously, Congress knew how to limit

enforcement to "individuals with disabilities" if it wanted to. Yet, in defining who could sue under title

II, and III it provided for broad enforcement by any "person." See e.g., Innovative Health Systems v.

City ofWhite Plains, 931 F. Supp. 222 (S.D.N.Y. 1996).

61.    Alternatively,§ 504 ofthe Rehabilitation Act, 29 U.S.C. § 794, broadly prohibits discrimination

on the basis of disability. The Act provides that "[t]he remedies, procedures, and rights set forth in title

VI of the Civil Rights Act of 1964 ... shall be available to any person aggrieved by any act or failure to

act by any recipient ofF ederal assistance or Federal provider of such assistance under section 794 of

this title." 29 U.S.C. § 794a (1988). The "person aggrieved" need not be an individual with a disability.




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See e.g., Sullivan v. City of Pittsburgh, 811 F.2d 171, 182 n. 12 (3d Cir. 1987), cert. denied, 484 U.S.

849 (1989).

62.    To satisfy the constitutional requirements for "standing" the plaintiff must allege that (1) it

personally has suffered some actual or threatened injury as a result of the putatively illegal conduct of

the defendant ("injury-in-fact"); (2) the injury fairly can be traced to the challenged action ("causation");

(3) the injury is likely to be redressed by a favorable decision ("redressability"). See Valley Forge

Christian College v. Ams. United for Separation of Church and State Inc., 454 U.S. 464,471-72 (1982).

It is a blend of constitutional requirements and prudential considerations.

63.    Injunctive relief is available "to any person who is being subjected to discrimination," and

"[n]othing ... shall require a person with a disability to engage in a futile gesture if such person has actual

notice that [a covered entity] ... does not intend to comply with [ADA].

64.    In as much such complained public laws or regulations often involve several subjects and multiple

proscribed acts - your plaintiff only seeks to sever, declare, enjoin, those certain passages herein alleged

unconstitutional or in violation of their rights under other federal law.

64.    Plaintiff assert there is an actual controversy which is justiciable by this court in which your

plaintiffs have standing to seek injunctive and declaratory relief. Further relevant facts and law share

commonality with the original complaint made in this suit making joinder and consolidation of claims

appropriate.

                                                   FACTS

65.    Mark Flynn, your intervening plaintiff, is an unsheltered resident of Burlington. I am 54 years

of age. I'm a transient person, I rove from place to place, and live without visible means of support.

My total year-to-date wage income is approximately half of the federal poverty guideline. That said

I've been employed by the same corporation for more than decade i.e., True Blue Inc. More fully I've

been employed by two of its subsidiaries - which have recently merged. Such subsidiary corporation,

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People Ready (formerly Labor Ready), is a significant employer of the homeless. It provides to its

business clients minimum (and near minimum) wage laborers mostly for unskilled and manual tasks for

temporary (daily/weekly) assignments.

66.    I'd prefer to work more- but because of age and health I'm unable to keep-up with the rigorous

nature of most of the temporary assignments. I have diabetes, high blood pressure, psoriatic arthritis,

I'm over-weight due to poor diet, and suffer from Post-Traumatic Stress Disorder (PTSD) and

Depression. Other circumstances also contribute: criminal history, bad credit, lack of educational

attainment and lack of professional or skilled employment history - have kept me from earning a full-

time living wage - as well as being able to access stable housing.

67.    I've sought social services and used shelter services in Burlington- but found them to be a

ladder back to the streets. I have personally experienced and observed the revolving door of such

welfare scheme and know of many individuals who end-up on the streets repeatedly- notwithstanding

"robust" efforts to stay sheltered (as if such duty exists in law). Having no desire to be a trespasser- I

sleep and reside in public places. This has included camping at the Sears Lane encampment this year

(which the City closed) as well as in proximity to the 311 N. Ave parcel. I am thus affected by the

City's policies in how it regulates public space utilized by the unsheltered including the reduction in

areas I'm allowed to access to live I survive (i.e., loss to my liberty). Suffice, there is an accepted

judicial norm of internment. Upholding the banning of an activity basic to survival - if a shelter

alternative supposedly exits. The real estate gets smaller. Yet I assert a right not to be corralled and

institutionalized by non-judicial state action- including into "homeless shelters." Besides penal like

conditions, and medically researched risk of serious harm to health- it is a judicial philosophy bereft of

recognition of my First Amendment rights of freedom of association and implicit liberty within the

ambit of protection of the Fourteenth Amendment. Banishment, rustication, internal exile, outlawed

from public space- the recognized civil liberties ofthe impoverished leave much to be desired.


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68.    I am a founding member of the Burlington Homeless Council. I am a board member. The

council is unique in that its board members have all personally experienced homelessness. It is a

general association charitable trust. We organize charitable events for the homeless community

including providing free meals (usually picnic cookouts) and free organized activities (e.g., wiffieball

games, group bike rides). We provide informal peer support and provide free health sustaining

resources to the homeless community (e.g., sleeping bags, tents, potable water, sanitation services, free

bikes). We publish a newspaper and heavily rely upon donations- thus solicit (i.e., beg). We largely

rely upon use of public space for our activities.

69.    I am also the spokesperson for Stand w/ the Poor which is an Independent Expenditure Only

Political Action Committee (IE-PAC). The committee lobbies on behalf of the homeless community

and uses solicitation to obtain donations. I, and the committee, also relies upon being solicited by the

homeless and poor so as to determine their needs and to direct our lobbying to addressing those needs.

70.    I am also the owner and a co-publisher of Burlington Street News (registered trade-name). This

published paper is dedicated to communicating items of news significant to the homeless community.

As owner of the trade-name - I license its use to the Burlington Homeless Council as co-publisher. It is

our intent to widen distribution based upon an established model used in other places. Specifically,

having the homeless (or our preferred term "the housing-insecure") distribute the free newspaper while

begging (we also prefer "soliciting") for their own personal needs or wants. The offering of such free

token typically improves donations to them. That said, I allege the contents of our free publication are

protected speech (and by reasonable extension it is also the protected speech ofthose who aid in its

public dissemination).

71.    Curt Fifield is 49 years of age. He grew-up in Vermont. He is a chronic alcoholic - and this has

caused no shortage of problems for him. He uses his drinking to cope with all the problems caused by

his drinking. And like many with a Substance Abuse Disorder- it eventually lead him into the criminal


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justice system. He was under orders as a probationer to perform "work crew" several days of the week

(in the time-frame this suit was filed). This made it difficult for him to find more regular gainful

employment. His criminal history and unstable employment and destitution were further impediments.

His alcoholism also meant that he couldn't enter the existing shelter run by COTS (they screen for

alcohol use). Such that between the lack of shelter and lack of income - Curt frequently had to ask for

help to support himself. He has lived unsheltered and rough upon the margins of public property for

several years. Like many who are homeless - it was a daily challenge to find places that would allow

him to use toilet facilities in the City of Burlington. At present - it appears he is again incarcerated. The

Vermont Department of Correction website reports his earliest release date as March 2018. He is, of

course, representative of many who experience being unsheltered.

                                       Preface - Free Speech Claims

72.     The First Amendment provides "Congress shall make no law ... abridging the freedom of
speech."
73.     "Premised on mistrust of governmental power, the First Amendment stands against attempts to
disfavor certain subjects or viewpoints. See, e.g., United States v. Playboy Entertainment Group, Inc.,
529 U.S. 803, 813 (2000) (striking down content-based restriction). Prohibited, too, are restrictions
distinguishing among different speakers, allowing speech by some but not others. See First Nat. Bank
of Boston v. Bellotti, 435 U.S. 765, 784 (1978). As instruments to censor, these categories are
interrelated: Speech restrictions based on the identity of the speaker are all too often simply a means to
control content." Citizens United v. Federal Election Commission, 558 U.S. 310 (2010).
74.     "Can society ban all forms of begging? The simple answer is No" Loper v. New York Police
Department, 802 F. Supp 1029 (S.D.N.Y. 1992). See also Reynolds v. Middleton, 779 F.3d 222, 225
(4th Cir. 20 15) ("There is no question that panhandling and solicitation of charitable contributions are
protected speech."); Clatterbuck v. City of Charlottesville, 708 F.3d 549, 552-54 (4th Cir. 2013) (ruling
"speech and expressive conduct that comprise begging" deserves First Amendment protection and
invalidating statute banning panhandling on two streets in downtown Charlottesville); Speet v. Shuette,
726 F.3d 867, 875 (6th Cir. 2013) (striking down Michigan statute criminalizing begging and noting
"begging is a form of solicitation that the First Amendment protects"); Gresham v. Pereson, 225 F. 3d
899, 904 (7th Cir. 2000) (allowing for regulation of some panhandling activities in Indianapolis but
following Loper's view oflittle difference between personal solicitation and those for charitable
groups); ACLU v. City of Las Vegas, 466 F.3d 784, 792 (9th Cir. 2006) ("It is beyond dispute that
solicitation is a form of expression entitled to the same constitutional protections as traditional
speech."); The Massachusetts Supreme Court has also borrowed reasoning from Loper to find First
Amendment protections for panhandling, Benefit v. City of Cambridge, 679 N.E.2d 184, 188 (Mass.
1997) (invalidating law banning unlicensed begging and finding distinction between personal
solicitation and solicitation for a charity "not a significant one for First Amendment purposes" (quoting
Loper v. N.Y.C. Police Dep't, 999 F.2d 699, 704 (2d Cir. 1993)); Smith v. City of Fort Lauderdale, 177

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F. 3d 954, 955-56 (11th Cir. 1999) (allowing for panhandling regulation on public beaches but noting
"[l]ike other charitable solicitation, begging is speech entitled to First Amendment protection"). See
more recent U.S. Supreme Court holdings in Reed v. Town of Gilbert 135 S. Ct. 2218 (2015) (The
court ruled that government regulations curtailing free speech must be as narrow as possible and must
fulfill a "compelling government interest."); also, Thayer v. City of Worcester, 135 S. Ct. 2887 (2015);
"Panhandling Regulation After Reed v. Town of Gilbert," Vol. 116 Columbia Law Review No.4. More
fully post Gilbert, within two months of the decision, the 7th Circuit held panhandling ban in
Springfield, Ill., unconstitutional. Federal courts have also struck down panhandling laws in Grand
Junction, Colo.; Tampa, Fla.; Portland, Maine; and Lowell, Mass.

                                     Count One: Right to Free Speech
                   42 U.S.C. § 1983 and First Amendment to the U.S. Constitution
75.    Plaintiffs facially challenge the regulatory scheme under the over-breadth doctrine. Plaintiffs are

unconstitutionally censored especially when such scheme is read in pari materia.

76.    More fully 13 V.S.A. § 3901 is essentially a blanket ban on protected First Amendment speech.

All begging statewide is essentially criminalized as to our socioeconomic group. This law literally

silences homeless Burlingtonians and unsheltered Vermonters to shield more fortunate people from

speech that makes them uncomfortable. Restricting the speech of Vermont residents who are in the

most serious need is a blatant violation ofthe First Amendment. This is an attempt to censor certain

welcomed content (content-based restriction) including political and religious and artistic speech and

expression coming from a particular politically disadvantaged group. First Amendment claims are

given "special solicitude." Lovell v. Poway Unified School Dist., 90 F.3d 367, 370 (9th Cir. 1996).

Restrictions on speech in traditional public forums are subject to "the highest scrutiny." ISKCON v.

Lee, 505 U.S. 672, 678 (1992). The burden is "entirely upon the Government", who can only succeed if

it proves that the restrictions meet strict scrutiny, "the most demanding test known to constitutional

law." Russell v. Lundergan-Grimes, 784 F.3d 1037, 1050 (6th Cir. 2015). (quotation omitted). §3901 is

not content neutral or narrowly tailored in terms of time, place, and manner. See e.g., Gilbert supra also

Citizens United v. Fed Election Comm'n, 558 U.S. 310 (2010) citing Brandenburg v. Ohio, 395 U.S.

444 (1969).




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77.    Plaintiffs assert their begging has First Amendment value for both themselves as panhandlers

and for those who are on the receiving end of the solicitation: First, panhandling informs those

receiving and witnessing solicitations about societal problems such as homelessness, addiction,

disabilities, the criminal justice system, and poverty, either through the words spoken, or literature, or

the mere act of begging itself. See Helen Hershkoff & AdamS. Cohen, Commentary, Begging to

Differ: The First Amendment and the Right to Beg, 104 Harv. L. Rev. 896, 898 (1991) (noting begging

"provides information about poverty and the lives of poor people"); see also Nancy A. Millich,

Compassion Fatigue and the First Amendment: Are the Homeless Constitutional Castaways? 27 U.C.

Davis L. Rev. 255, 275-81 (1994) (arguing begging contributes to public's awareness ofhomelessness

as problem). This awareness takes on an added importance in a democratic society, as information

about the existence and prevalence of abject poverty may inform a voter's choices come Election Day.

See Hershkoff & Cohen, supra note 117, at 901-02 (discussing democratic value of begging). On a

deeper level, begging may encourage listeners of the speech or conduct to evaluate their own feelings

about living in a society of homelessness or to fulfill spiritual obligations by giving alms to the needy.

See id. at 899-901 (setting forth these arguments as part of what authors call "enlightenment value" of

begging); Mark Oppenheimer, The Beggars of Lakewood, N.Y. Times Mag. (Oct. 16, 2014),

http://www.nytimes.com/20 14/1 0/19/magazine/the-beggars-of-lakewood.html (on file with the

Columbia Law Review) (discussing role of begging and giving alms in ultra-Orthodox Judaism). The

act of begging allows for panhandlers to achieve self-realization by giving us the freedom to express

ourselves e.g., creative artistic begging: "husking" (free musical performances for donations); juggling,

creating poetry, physical comedy, prose, also "spanging" (begging for spare change) including washing

windshields, shining shoes, vending "homeless newspapers" for donations, and other marginal

commercial services associated with seeking donations and to express our values about giving to others

and society in general. But over-arching the act of begging has health and life sustaining implications.



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                                    Count Two - Licensing of Speech

78.    Re: Chapter 21 § 9. Without waiver ofthe foregoing claim of total prohibition- the act of

begging in the City of Burlington unconstitutionally requires pre-clearance. See e.g., Citizens United v.

Federal Election Commission, 558 U.S. 310 (2010) citing Watchtower Bible & Tract Soc. ofN. Y., Inc.

v. Village of Stratton, 536 U. S. 150, 153 (2002) holding restrictions requiring a permit at the outset

unconstitutional. Such law is further improperly tailored to unconstitutionally chill protected speech

five-fold. First: The City's choice of the police department for the submission is calculated to

intimidate (note this license is not issued by the City Clerk per the usual- see Chapter 19 §§ 1-18).

Second: the requirement to provide a home address is another onerous burden for the unsheltered.

Third: Such pre-clearance is for traditional public fora; and Forth: the requirement to specify dates-

thus to be limited to those dates - is yet another undue burden for the impoverished living day-to-day.

Five: the downtown location with the best pedestrian traffic flow (i.e., Church Street Market Place) is

subject to prior approval from such district and has a labyrinth regulatory scheme- but in sum doesn't

allow panhandling (no surprise). More fully a ''prior restraint on speech, i.e., any regulation that gives

public officials the power to deny use ofa forum in advance ofactual expression, Southeastern

Promotions. Ltd. v. Conrad. 420 US. 546, 552-53, (1975), such as a requirement that a permit be

obtained in advance of the proposed speech or conduct, see, e.g., Forsyth County v. Nationalist

Movement, 505 US. at 130, is 'not unconstitutional per se, 'but it 'bear[s] a heavy presumption against

its constitutional validity,"' Southeastern Promotions, Ltd. v. Conrad, 420 U.S. at 558, (internal

quotation marks and other punctuation omitted).

                                     Count Three - Over-breadth
                             Aggregate of Speech Regulatory Scheme
79.    Re: Chapter 21 §§ 8 etcetera. The place, time, and manner of begging, panhandling, soliciting,

speaking, and expressive conduct is so over-regulated as to effectively leave no public fora. When all

the restrictions and setbacks are considered - we are so censored, chilled, and removed from public


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space as to defeat our communicative purpose. When viewed in total -the scheme is content-based

restrictions of our speech in favor of other preferred commercial and other speech from the non-

destitute. It is not as narrow as possible and is not required by a compelling government interest.

80.     For example, chapter 21 § 8 (part 8) (and 2). These restrictions effectively prohibit approaching

for the purposes of soliciting every residence, every business, every non-profit, and every public

building. "No person shall solicit within fzfteen (15) feet of an entrance to a building." (Part 8). But see

similar: e.g., Homeless Helping Homeless, Inc. v. City ofTampa, Florida, No. 8:15-cv-1219-T-23AAS,

2016 WL 4162882, (M.D. Fla. Aug. 5, 2016) (striking down ordinance banning panhandling near a bus

stop,

sidewalk cafe, or ATM); Thayer v. City ofWorcester, 144 F. Supp. 3d 218 (D. Mass. 2015) (striking

down 20-foot no-panhandling zone around entrance to or parking area of any bank, ATM, mass

transportation facility or stop, and other public areas. Salzman v. City of Arcata, Superior Court of

California ofHumbolt County, Case No., DR110422, holding most buffers unconstitutional using 2nd

Circuit Loper precedent (Sept. 2012) (opinion has good review of then existing U.S. Supreme Court

guidance- pre-Gilbert). Pleading further, "soliciting shall include using the spoken, written or printed

word, bodily gestures, signs or other means with the purpose of obtaining an immediate donation of

money or other thing of value." (Part 2). Obviously, going to the door of a home or business and

immediately asking - by word, letter, gesture, or other means - for a donation or even immediately

asking to be allowed to beg from their property is a "thing of value." Solicitations for money or

donations are a recognized form of speech protected by the First Amendment. See: Vill. Of

Schaumburg v. Citizens for a Better Env't, 444 U.S. 620, 632 (1980); Jefferson v. Rose, 869 F. Supp.

2d 312 (E.D.N.Y. 2012); Loper supra 999 F.2d 699, at 704 (2d Cir. 1993); Speet v. Schuette, 726 F.3d

867,878 (6th Cir. 2013); see also Champion v. Commonwealth, No. 2015-SC-000570-DG, 2017 WL

636420, at *2 (Ky. Feb. 16, 2017). Yet such implied non-buffer area is contradicted by Chapter 21 § 28:


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"[n]o person shall permit his buildings or other place to be used, frequented or resorted to by ... any

vagrants ... therein or thereabout." Further Title 13 V.S.A. §§ 3901-02 presumably preempts the city's

ordinances: "a transient person ... who begs... " "shall be imprisoned. .. "

                                       Count Four: Void for Vagueness
              42 U.S.C. § 1983 and Fourteenth Amendment to the U.S. Constitution
                                                   Preface
81.    "But the fact that society may find speech offensive is not a sufficient reason for suppressing it.
       Indeed, if it is the speaker's opinion that gives offense, that consequence is a reason for
       according it constitutional protection. For it is a central tenet of the First Amendment that the
       government must remain neutral in the marketplace of ideas." Federal Communications
       Commission v. Pacifica Foundation, 438 U.S. 726 (1978).

82.     "[a] law that is content based on its face is subject to strict scrutiny regardless of the
       government's benign motive, content-neutral justification, or lack of 'animus toward the ideas
       contained' in the regulated speech." Gilbert supra.

83.    Plaintiffs challenging a content-based speech restriction are "deemed likely to prevail"- and
       therefore entitled to a preliminary injunction. Ashcroft v. American Civil Liberties Union, 542
       U.S. 656, 666. The burden is on the government to prove there is no less restrictive alternative
that   will fulfill a compelling interest. Id

84.    Re: Chapter 21 §§ 22, 8, 46, 48:

85.    "It shall be unlawful for any person to use indecent, profane or insulting language in a street or
       public place or near a dwelling house or building within the city. ..

86.    "It shall be unlawful for a person who, with the intent to cause public inconvenience, or
       annoyance or recklessly creating a risk thereof ... In a public place uses abusive or obscene
       language; or (d) * * *disturbs any lawful assembly or meeting or persons ...

87.    "Any person who, with the intent to cause public inconvenience, or annoyance or recklessly
       creating a risk thereof .. In a public place uses abusive or obscene language; or * * *disturbs
       any lawful     assembly or meeting or persons ...

88.    "Continuing to solicit from a person or continuing to engage that person after the person has
       given a negative response to such soliciting...

89.    Using*** obscene ***gestures toward a person solicited. ..

90.    Following the person being solicited, with the intent of asking that person for money or other
       things of value...

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91.    Speaking in a volume unreasonably loud under the circumstance ...

92.    The government's authority to regulate speech or expressive conduct on property that has

traditionally been open to the public for such activity, such as public streets and parks, is sharply

circumscribed. See, e.g., Forsyth County v. Nationalist Movement, 505 U.S. 123, 130, (1992); United

States v. Kokinda, 497 U.S. 720,726, (1990) (plurality opinion); Perry EducationAss'n v. Perry Local

Educators' Ass'n, 460 U.S. 37, 45, (1983). "The Supreme Court ... has repeatedly affirmed the principle

that constitutional rights may not be denied simply because of hostility to their assertion or exercise."

Bible Believers v. Wayne County, Mich., 805 F.3d 228, 252 (6th Cir. 2015) (en bane); see also, e.g.,

McCullen v. Coakley, 134 S. Ct. 2518, 2529 (2014) ("[T]he government may not selectively shield the

public from some kinds of speech on the ground that they are more offensive than others." (internal

quotations and alterations omitted)); R.A.V. v. City of St. Paul Minn., 505 U.S. 377,386 (1992) ("The

government may not regulate use based on hostility-or favoritism-towards the underlying message

expressed.")

93.    Plaintiffs first aver such restrictions are unconstitutionally vague. See e.g., Coates v. Cincinnati,

402 U.S. 611 (1971). Holding: city ordinance prohibiting three or more persons to assemble on a

sidewalk and annoy passersby unconstitutionally vague. Similarly, e.g., Papachristou v. Jacksonville,

405 U.S. 156 (1972) holding: laws against vagrancy unconstitutionally vague.

94.    In the alternative, we contend the regulatory-scheme prohibit innocent conduct or protected

speech and expression. See e.g., Kolender v. Lawson, 461 U.S. 352 (1983), holding: "vagrancy statutes

cannot turn otherwise innocent conduct into a crime."

95.    Plaintiffs contend use of words (except fighting words, slander, or those that would cause

imminent endangerment e.g., "shouting fire in a crowded theater") which are merely insulting, abusive,

disturbing, annoying are constitutionally protected including profane and indecent (provided indecent



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speech is not audible to children and repetitive and frequently used). See e.g., Federal Communications

Commission v. Pacifica Foundation, 438 U.S. 726 (1978) (better known as the landmark "seven dirty

words" case). In that ruling, the Court found that only "repetitive and frequent" use of the words in a

time or place when a minor could hear can be administratively punished (but importantly such post

speech regulation survived constitutional scrutiny because radio broadcasting is pervasive and intrudes

into the home) (but the form of publication or broadcasting has since been downplayed as so significant

in Citizens United supra).

96.    We further contend recklessly creating the risk of public inconvenience or annoyance is vague

and over-broad including as to time, place, and manner as to restricting plaintiff's First Amendment

free speech rights.

97.    The differentiation between obscene and indecent material (as contrasted with mere speech) is a

particularly difficult one, and a contentious First Amendment issue that has not fully been settled.

Similarly, the level of offense (if any) generated by a profane word or phrase depends on region,

context, and audience.

98.    To illustrate: "indecent" synonyms: unseemly, improper, indecorous, unceremonious, indelicate,

unbecoming, ungentlemanly, unladylike, unfitting, unbefitting, untoward, unsuitable, inappropriate, in

bad taste, tasteless, unacceptable, offensive, crass, dirty, filthy, rude, coarse, naughty, vulgar, gross,

crude, lewd, salacious, improper, smutty, off-color; offensive, sordid, scatological, ribald, risque, racy,

informal raunchy, blue, euphemistic, adult, not appropriate. Likewise "obscene" synonyms: indecent,

smutty, salacious, dirty, filthy, X-rated, R-rated, explicit, lewd, rude, vulgar, coarse, crude, offensive,

immoral, improper, impure, off-color, degenerate, depraved, debauched, pornographic, lubricious,

risque, erotic, carnal, lascivious, licentious, bawdy, scatological, profane, informal, blue, porn, porno,

skin, euphemistic, adult, offensive to moral principles; repugnant, shocking, scandalous, vile, foul,

atrocious, outrageous, heinous, odious, abhorrent, abominable, disgusting, hideous, offensive,


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objectionable, repulsive, revolting, repellent, loathsome, nauseating, sickening, awful, dreadful,

terrible, frightful. Similarly, "abusive" synonyms: insulting, rude, vulgar, offensive, disparaging,

belittling, derogatory, opprobrious, disrespectful, denigratory, uncomplimentary, censorious, pejorative,

vituperative; scurrilous, blasphemous, bitchy, cruel, brutal, savage, inhuman, barbaric, barbarous,

brutish, vicious, sadistic; ruthless, merciless, pitiless, remorseless, uncaring, heartless, cold-blooded,

cold-hearted, unfeeling, unkind, inhumane. Yet what cannot be uttered in public remains unclear.

99.    The U.S. Supreme Court has thus required "obscenity laws" to be specific. It is not sufficient to

categorically and generically prohibit everything obscene. To be exempt from First Amendment

protection the obscenity must appeal to the prurient interest in sex; portray such in a patently offensive

way, when taken, and taken, does not have serious literary, artistic, political, or scientific value. But

also, and importantly, such sexual conduct, i.e., the forbidden obscene topic, must be specifically

defined by the applicable state law. The latter is necessary two-fold. Firstly, because the U.S. Supreme

Court overturned an earlier national standard for judging obscenity, i.e., Miller v. California (1973)

("The jury may measure the essentially factual issues ofprurient appeal and patent offensiveness by the

standard that prevails in the forum community, and need not employ a "national standard."" Pp. 413 U.

S. at 30-34). The second rationale for requiring specificity, if a state obscenity law is thus defined and

limited, First Amendment values are adequately protected by ultimate independent appellate review of

constitutional claims when necessary. Federal Communications Commission supra. Absent such

specificity, we claim the obscenity ordinance(s) are void for vagueness on their face.

                                  Count Five: Vermont Constitution
                28 U.S. Code § 1367 and Right to Free Speech & Exercise of Religion

100.   In State v. Henry 302 Or. 510, 732 P2d 9 (1987), the Oregon Supreme Court ruled that the

Oregon state law that criminalized obscenity was an unconstitutional restriction of free speech under

the free speech provision of the Oregon Constitution, with the ruling making Oregon the first state in

the nation to abolish the offense of obscenity. Plaintiffs also reason the Vermont Constitution is no less
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the vanguard offree speech. Article 13th provides. "That the people have a right to freedom ofspeech,

and ofwriting and publishing their sentiments, concerning the transactions ofgovernment... " Article 3

provides: That all persons have a natural and unalienable right, to worship Almighty God, according

to the dictates of their own consciences and understandings ... nor can any person be justly deprived or

abridged ofany civil right as a citizen, on account ofreligious sentiments, or peculiar mode of

religious worship; and that no authority can, or ought to be vested in, or assumed by, any power

whatever, that shall in any case interfere with, or in any manner control the rights of conscience, in the

free exercise ofreligious worship. " We therefore assert all our free speech claims as herein plead

throughout to be protected by these two provisions of the Vermont Constitution.

                                 Count Six: Federal Preemption
42 U.S.C. § 1983 and Supremacy Clause (Article VI, clause 2) of the United States Constitution
and/or Void for Vagueness under Fourteenth Amendment to the U.S. Constitution

                                                 Preface
101. "As the Supreme Court stated in Altria Group v. Good, 555 U.S. 70 (2008), a federal law that
conflicts with a state law will trump, or "preempt", that state law: Consistent with that command, we
have long recognized that state laws that conflict with federal law are "without effect." Maryland v.
Louisiana, 451 U.S. 725, 746 (1981).

102.   Re: Chapter 21 § 8 (5). The federal government defines a "controlled substance" as any of the

substances listed in the five schedules of the Controlled Substances Act of 1970. The schedules are

broken down into five categories. Most, four out of five, schedules list commonly prescribed

medications. Only Schedule One have "no accepted medical use" although Schedule One includes e.g.,

marijuana and ecstasy- such that notwithstanding federal law, therapeutic use claims have some

acceptance e.g., as demonstrated by "medical marijuana" laws found in an increasing number of states

including Vermont. Most states have adopted the subsequent Uniform Controlled Substances Act of

1973. That said, this local law, Chapter 21 (8)( 5), pretends to prohibit use of our prescribed medications

if we solicit. Plaintiff alleges the doctrine of "field preemption" prohibits the City defendant from

regulating the use of medically prescribed controlled substances as this regulatory field is occupied by

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the U.S. Food and Drug Administration. Thus, such speech and expressive conduct restriction is over-

broad and lacks any rational relationship as to those who therapeutically use prescribed medications

(thus to be under the substance's intended influence) which are controlled substances. That said, it (part

5) censor's persons seeking help (financial or other assistance) because of their substance abuse

disorder e.g., food, shelter, treatment.

                                          Count Seven
42 U.S.C. § 1983 and Void for Vagueness; Equal Protection; Substantive Due Process under
Fourteenth Amendment to the U.S. Constitution and Over-breadth First Amendment

103.    Similarly, such law, chapter 21 § 8 (5), pretends to prohibit those "under the influence of

alcohol" from soliciting. The ordinance does not specify intoxication- but rather "influence." Alcohol

is a generic term for ethanol. Ethanol produces its depressive effects on various areas of the brain

causing the following mental and physical impairments in a progressive order as alcohol level increases

in a person (the person becomes more and more influenced until intoxicated) (note root word "toxic" in

"intoxication" as alcohol poisoning results in the latter stages). These progressive stages: dis-inhibition;

euphoria; ataxia; impaired judgment; loss of memory; slurred speech; worsening ataxia; vomiting;

confusion and disorientation; increasing lethargy leading to coma; shutdown of the respiratory centers

and death.

104.    Alcoholism is a disease which also creates known longer-term changes to the brain and other

physiological changes to the body. Chronic alcohol use can affect all parts of the body, but it

particularly affects the brain, heart, liver, pancreas, and immune system. This can result in mental

illness, Wemicke-Korsakoff syndrome, an irregular heartbeat, cirrhosis of the liver, and an increase in

the risk of cancer, among other diseases. Drinking during pregnancy can cause damage to the baby

resulting in fetal alcohol spectrum disorders. Those suffering from chronic alcoholism are known to

suffer from withdrawal including experiencing anxiety, life-threatening seizures, delirium tremens,

hallucinations, shakes and possible heart failure - such the result of the influence of alcohol. In the


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United States about 17 million (7%) of adults and 0. 7 million (2.8%) of those age 12 to 17 years of age

are affected. National Institute on Alcohol Abuse and Alcoholism: https://www.niaaa.nih.gov/

105.   Plaintiffs similarly takes issue with this law for over-breadth and for unconstitutional vagueness

("men of common intelligence must necessarily guess at its meaning").' For example: at what stage of

ethanol consumption and metabolism - including hungover and detoxification towards sobriety - does

"influence" reference? To what physiological degree? Avoidance - many food recipes include alcohol.

Given its sweep, the ordinance gives the city the power to arbitrarily chill and punish conduct

otherwise constitutionally protected. The economy of Burlington would significantly suffer if alcohol

consumption in its many restaurants, bars, social clubs, residences, businesses, parks, and upon the

adjacent lake and river was prohibited. Countless conversations including innumerable solicitations

take place while alcohol is consumed. Yet those non-impoverished speakers don't face being fined or

arrested. Even when these other people are intoxicated I incapacitated -they are not censored, fined, or

arrested. See 18 V.S.A., §§ 4801-09. Moreover, besides destitution being a limiting factor, the City has

severely proscribed the possession and consumption of alcoholic beverages by the unsheltered and

impoverished. See e.g., Chapter 21 §§ 37, 38, 48, 49: essentially limiting alcohol consumption to three

parks; and only during certain hours; from certain containers. Thus, plaintiff additionally assert- as to

their communicative and associational rights - an unconstitutional denial including the equal protection

oflaw (under-inclusive: 18 V.S.A., §§ 4801-09). Such speech restriction isn't truly about public safety

- it is about censorship; and concealing the unmet need for addiction treatment and the associated

poverty. This is more political white-wash than bona fide safety of the solicited.

                                           Count Eight
42 U.S.C. § 1983 and Exercise of Religion; Right of the People Peaceably Assemble; Chill of Right
to Receive Information under First Amendment United State Constitution; Void for Vagueness;
Equal Protection; Substantive Due Process under Fourteenth Amendment.

106.   More fully, we further assert First and Fourteenth Amendment rights to be solicited by other

persons including "under the influence" and including those who use "controlled substances." The First
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Amendment states that "Congress shall make no law respecting an establishment of religion, or

prohibiting the free exercise thereof" Emphases supplied. The giving of alms to the poor predates

Christianity [ancient Greeks distinguished between the ptochos (Greek: 7t-rrox6<;, "passive poor" or

"beggars") and the penes (Greek: 1totvi)<;, "active poor"). The New Testament contains several

references to Jesus' status as the savior of the ptochos, usually translated as "the poor", considered the

most wretched portion of society]. It is an accepted religious practice going back millennia as to

multiple religions e.g., Judaism; Christianity; Islam (see Muslim, Zakat, 109); Hinduism [Begging

(bhiksha) has been a long religious and spiritual tradition of Hinduism. When the Buddha founded

Buddhism, he called his monks Bhikshus (bhikkus)]; Buddhism; Jainism; Shintoism. We further

contend homeless substance abuse addicts have a right to exist in public spaces including to publicly

communicate their needs- especially those life sustaining (obviously the destitute lack resources to

otherwise publish or broadcast). Which status in the community is arguably also supported by e.g.,

O'Connor v. Donaldson, 422 U.S. 563 (1975) (civil commitments) and Robinson v. California 370 U.S.

660 (1962); Easter v. District of Columbia, 361 F.2d 50 (D.C. Cir. 1966) (en bane); Driver v. Hinnant,

356 F.2d 761 (4th Cir. 1966); Justice White concurring opinion Powell v. Texas 393 U.S. 514 (1968);

See also West Virginia Supreme Court of Appeals: State Ex Rel. Harper v. Zegeer 296 S.E.2d 873

(1982). Moreover, this censorship of addicts- especially when our state and nation has declared a state

of emergency as to a national opioid epidemic - is not without political implications. "Given its

breadth, the ordinance would give the city the power to punish conduct which would otherwise be

constitutionally protected. Additionally, the ordinance violated the constitutionally protected right of

free assembly, a core guarantee which could not be abridged merely because someone might be

"annoyed." Coates v. Cincinnati, 402 U.S. 611 (1971).

       Re: Chapter 21 §§ 8, 21, and Chapter 2 § 1




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107.   Chapter 21 § 8 prohibits soliciting within fifteen feet of a taxicab stand, bus, train, stop or

station, or handicap parking space or in any parking lot or structure, or walkway to such lot or

structure. Chapter 21 § 21 further provides no person while upon any street within the city, shall

endeavor by words, gestures or otherwise, to beg, invite or secure transportation in any motor vehicle.

'Street' includes the entire width between property lines of every way used for public vehicular and

pedestrian travel and such ways in public places as the public is permitted to use for vehicular and

pedestrian traffic. Public place means any park, cemetery, school yard or open space adjacent thereto,

all streets and parking fields and all waterways. The exceptions for § 21: if the person knows the driver

or owner or passenger; if the person is sick or seeking assistance for the sick; in which an emergency

exists; for aid in the event of accident; or if the vehicles carries passengers for hire. This scheme is

designed to leave intact the privileges of the non-impoverished to hail rides from their social peers; and

from for-profit providers; and for their welfare in emergencies. It is also designed to deny the

impoverished a forum - and the more advantageous fora - to beg for the donated service of

transportation from the general public. Those at the bottom rung - are less likely to know vehicle

owners, drivers, passengers. Less likely to be able to hire or have transportation of their own or even a

driver's licenses. It is declared a "public nuisance"- yet objectively how different is it to hail

transportation commercially or by right of social privilege verses for charitable purposes? Commercial

speech is protected; established associational speech is protected; and speech for some exigent

necessities is protected (which is a limited charitable purpose)- but largely prohibited is speech and

conduct that might alert a good Samaritan to someone otherwise in real desperate need (religious

liberty). As a practical matter it prohibited our begging a ride to Rutland to litigate in this case.

Likewise, it largely censors curbside "demonstrations" that our publicly funded mass transit and for-

profit transports (licensed by the city) often do not meet the needs of everyone in our communities

(hence political speech and conduct).



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108.   Streets, sidewalks, public rights-of-way, and parks are "quintessential traditional public forums"

for speech, ACLU ofNevada v. City of Las Vegas, 333 F.3d 1092, 1099 (9th Cir. 2003). Public streets

are considered the "archetype of a traditional public forum." Frisby v. Schultz, 487 U.S. 474, 480

(1988). The government's ability to restrict speech in these places is extremely limited. Clatterbuck v.

City of Charlottesville, 708 F.3d 549, 555 (4th Cir. 2013) (quoting Perry Education Association v. Perry

Local Educators' Association, 460 U.S. 37, 45 (1983)). "It is no accident that public streets and

sidewalks have

developed as venues for the exchange of ideas. Even today, they remain one of the few places where a

speaker can be confident that he is not simply preaching to the choir. With respect to other means of

communication, an individual confronted with an uncomfortable message can always turn the page,

change the channel, or leave the Web site. Not so on public streets and sidewalks. There, a listener

often encounters speech he might otherwise tune out. In light ofthe First Amendment's purpose 'to

preserve an uninhibited marketplace of ideas in which truth will ultimately prevail,' FCC v. League of

Women Voters of Cal., 468 U.S. 364, 377 (1984) (internal quotation marks omitted), this aspect of

traditional public fora is a virtue, not a vice. McCullen v. Coakley, 134 S. Ct. 2518 at 2529 (2014).

"[T]he Government may commit a constitutional wrong when by law it identifies certain preferred

speakers. By taking the right to speak from some and giving it to others, the Government deprives the

disadvantaged person or class of the right to use speech to strive to establish worth, standing, and

respect for the speaker's voice. The Government may not by these means deprive the public of the right

and privilege to determine for itself what speech and speakers are worthy of consideration. The First

Amendment protects speech and speaker, and the ideas that flow from each." Citizen United supra.

109.   The City's ban falls far from meeting any goal of roadway safety (especially since it is clearly

permissive for non-impoverished): it applies at all times of the day and night, regardless ofhow light

the traffic, and so removed from not only all roadways but even sidewalks, and parking lots, and even


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customary places where the public boards vehicles, and no matter how unintrusive a solicitation might

be. Courts have repeatedly struck down similar bans as not narrowly tailored. See, e.g., Comite de

Jomale ros de Redondo Beach v. City ofRedondo Beach, 657 F.3d 936 (9th Cir. 2011) (en bane);

Reynolds v. Middleton, 779 F.3d 222 (4th Cir. 2015) (finding City failed to prove it had tried less

restrictive means than ban on roadside solicitation); Wilkinson v. Utah, 860 F. Supp. 2D 1284 (D. Utah

2012) (striking down ban on soliciting donations near roadways); see also Champion v. Kentucky,---

S.W.3d ---,No. 2015-SC-000570-DG, 2017 WL 636420 (Ky. Feb. 16, 2017) ((unanimous).

110.   We allege the buffer provisions, silencing provisions, are over-broad and do not provide a

person of ordinary intelligence fair notice of what conduct is prohibited. The scheme is so all-inclusive

as to put nearly unfettered discretion in the hands of a police officer who sees a person experiencing

homelessness communicating with someone more fortunate. "These onerous restrictions thus function

as the equivalent ofprior restraint by giving [the State ofVermont and the municipality of Burlington]

power analogous to licensing laws implemented in 16th- and 17th-century England, laws and

governmental practices of the sort that the First Amendment was drawn to prohibit. Citizen United

citing Thomas v. Chicago Park Dist., 534 U.S. 316,320 (2002); Lovell v. City of Griffin, 303 U.S.

444, 451--452 (1938). The multiple prohibitions for silencing do not provide a person of ordinary

intelligence realistically fair notice of what conduct triggers the duty to stop soliciting or speaking. It is

so all-inclusive that anyone caught or unsuccessfully soliciting for more than a moment is subject to

arrest on an officer's whim.

                                      Preface - Discrimination Claims

111.   This year a tragedy unfolded - the epicenter was the City of San Diego but soon spread to a
multi-state epidemic. The Governor of California declared a state of emergency. 19 fatalities; 395
hospitalizations; 600 sickened by the largest person-to-person outbreak of Hepatitis-A in the U.S.
(since a vaccine was developed two decades ago). 80,000 vaccinations have since followed. Three
circus sized tents were deployed to bring 9000 homeless people into more sanitary conditions; streets
and sidewalks were pressure-washed with bleach solution; port-potties and portable sanitation stations

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deployed; the mayor ordered restrooms to be open to such public. Far more tragic: two years prior a
grand jury warned San Diego it needed more public toilets downtown. The city agreed with the finding
but did nothing. It even rejected the jury's proposal to adds signs alerting people to places they could
relieve themselves. In just a year homelessness within the city spiked-upwards 14%. California also
banned plastic grocery bags - which had served as substitute toilets for the impoverished. And the
deadly epidemic followed.

112.   This year the City Council of Burlington passed the following resolution:

       NOW, THEREFORE, BE IT RESOLVED that the City Council directs the Ordinance
       Committee to draft an ordinance that creates a criminal penalty for repeat offenders of these
       types of violations of aggressive and disruptive behavior, such as, but not limited to, public
       urination, public drunkenness, littering, and sexually aggressive catcalling and that the
       Ordinance Committee shall bring such ordinance back to the full Council as soon as possible
       but no later than the council's second meeting in November. [2017].

113.   Meanwhile a formal written survey on toilet/lavatory access was conducted in Burlington. It
was canvased at locations where the homeless can be found e.g., the Salvation Army; the Chittenden
Emergency Food Shelf; the "Red Door" Church; "Small Potatoes" program at 38 S. Winooski Ave;
Church Street; and City Hall Park. Not unexpectedly the survey- each individual survey signed by the
person surveyed - reported wide-spread and very high incidence of discrimination as to toilet access
against the homelessness. It polled income; housing status; disabilities, racial minority, national origin,
and other protected status; and asked several questions as to access to toilets in Burlington (due to bulk
the complete survey documentation is available as a PDF file). Notably it reported a sever reduction in
the number of places i.e., closures and restrictions of restrooms in the past five years - which it is
alleged is tied to the opioid epidemic. The unsheltered being the low-hanging fruit to gamer suspicion-
hence they are denied access to otherwise supposedly public facilities including places of public
accommodation.

114.   The sponsor of the forgoing resolution Councilman "Hartnett recounted an experience earlier
this summer at a business in the same vicinity. He was eating at Junior's Downtown when a homeless
man entered and asked to use the restroom. When employees told him it was for paying customers only,
                                    '
he urinated on the floor, Hartnett recalled ... " By Jicklings, Sevendays, Aug. 23, 2017.
https://www. sevendaysvt.cornlvermont/begging-for-change-burlington-stabbings-prompt-proposed-
penalties/Content?oid=7467784.




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115.   The substantially higher incidence of disabilities (physical and mental) among the unsheltered is
widely and authoritatively documented and established in the United State and internationally. It is an
accepted scientific fact not subject to creditable evidentiary challenge.

109.   The City-defendant is the owner of a multi-million-dollar water and waste-water utility. The
plumbing infrastructure associated with such service is ubiquitous - going to practically every building
(and park) within the municipality. In support of its tourism economy and sheltered inhabitants the
defendant provides public restrooms- seasonally. And locks them at night. Yet another example, it
unlocks City Hall on Saturdays to provide toilet access in support the seasonal Farmer's Market in the
adjacent park (commercial activity). Yet, whereas the city is fully aware of having an unsheltered
population - with a significant sub-population of disabled therein- it discriminates against them
regarding all of its services, programs, and activities by failure to provide equal access or reasonable
accommodation as to access to safe sanitary plumbing.

116.   Title II emphasizes "program access," meaning that a public entity's programs and services,
viewed in their entirety, must be equally accessible to disabled persons. See Pierce v. Cnty. of Orange,
526 F. 3d 1190, 1215-16, 1222 (9th Cir. 2008). A public entity must make reasonable modifications to
avoid discrimination against persons with disabilities, unless it can demonstrate that doing so would
fundamentally alter the nature ofthe service, program, or activity it provides. 28 C.F.R. § 35.130(b)(7).

117.   A "program or activity" is subject to the accessibility requirements of Section 504 of the
Rehabilitation Act of 1973 (Section 504), 29 U.S.C. 794, or one of a city's "services, programs, or
activities" under Title II of the Americans with Disabilities Act (Title II), 42 U.S.C. 12132.

118.   The statutory phrases "program or activity" and "service, program or activity" are intentionally
expansive. Section 504 provides that "the term 'program or activity' means all of the operations of* *
* a department, agency, special purpose district, or other instrumentality of a State or of a local
government** *any part of which is extended Federal financial assistance." 29 U.S.C. 794(b)(1)(A)
(emphasis added). The same phrase in the ADA, expanded to include "services" as well, is at least as
broad. See 42 U.S.C. 12201(a) ("Except as otherwise provided in this chapter, nothing in this chapter
shall be construed to apply a lesser standard than the standards applied under [Section 504] or the
regulations issued by Federal agencies pursuant to such title.").

119.   "[T]he ADA's broad language brings within its scope anything a public entity does." Lee v. City
of Los Angeles, 250 F. 3d 668, 691 (9th Cir. 2001) (citation and internal punctuation omitted) (emphasis
added). See also 28 C.F.R. Pt. 35, App. A, p. 476 (analysis of Title II regulations) (same).



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120.   The range of things "a public entity does," is obviously very broad. Defendant concentrates on
two sort of activities -providing utility services directly to paying constituents and physical handicap
barrier-free design within a building such as a library or school. But public entities also provide a
service to the community by building public facilities such as sidewalks, soccer fields, hiking trails,
amphitheaters, parking lots, nature paths, boat slips, public beaches, etc. Building a soccer field or a
parking lot is clearly a government "activity." Maintaining a nature path or a public beach is also a
government "service" or "program." And being able to use the park, trail, beach, parking lot or public
restroom is one of the "benefits of [these] services, programs, or activities." 42 U.S.C. 12132. See, e.g.,
Parker v. Universidad De Puerto Rico, 225 F. 3d 1, 6-7 (1st Cir. 2000) (public entity must make park
accessible under Title II); Tyler v. City of Manhattan, 857 F. Supp. 800, 818 (D. Kan. 1994)
(recreational facilities). Cf. Crowder v. Kitagawa, 81 F.3d 1480, 1485 (9th Cir. 1996) (giving parks as
example of a "public service" covered by Title II).

121.   Yet under color of state and local law vagrants may not enter any building- even places of
public accommodation.

122.   The City defendant further prohibit urination and defecation in public- and clearly intends to
further criminalize the pre-existing lack of access to toilets.

123.   The ADA aims to "provide clear, strong, consistent, enforceable standards addressing
discrimination against individuals with disabilities." 42 U.S.C. § 12101(b)(2). Congress enacted the
statute on the premise that discrimination against the disabled is "most often the product, not of
invidious animus, but rather of thoughtlessness and indifference--of benign neglect." Alexander v.
Choate, 469 U.S. 287,295 (1985). Therefore, the ADA proscribes not only "obviously exclusionary
conduct," but also "more subtle forms of discrimination-such as difficult-to-navigate restrooms and
hard-to-open doors-that interfere with disabled individuals' full and equal enjoyment" of public
places and accommodations. Chapman v. Pier 1 Imps. (U.S.) Inc., 631 F.3d 939,945 (9th Cir. 2011) (en
bane) (internal quotation marks omitted).

124.   Your plaintiffs, based upon their present information and belief, are reasoned to believe and
therefore allege the City-defendant is a recipient of Federal funding and subject to 29 U.S.C. 794(a).
Section 504.




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                                            Count Nine
                         Americans with Disabilities Act - Rehabilitation Act

125.   Your Plaintiffs are disabled within the meaning of the ADA. They are routinely and frequently

refused use of toilets and washroom facilities throughout the city (as similarly occurs to other disabled

homeless)- and thus contend such vagrancy statutory-scheme has been applied to them. And will

continue to be applied to them in the future. To beg or to insist upon their right of access under

applicable Federal law- they fear criminal and civil prosecution (see e.g., Title 13 V.S.A. §§ 3901-02,

§ 3905 and Chapter 21 § 8 ofThe Code of Ordinances of the City of Burlington, Vermont).

126.   The city-defendant has demonstrated a policy, practice, usage, custom, including by lack of

adequate training of officials and pattern enforcement - so as not provide adequate toilets and wash-

sinks to disabled unsheltered residents in all their services, programs, and activities. Or is the moving

force as to the wide-spread denial of use to the disabled homeless due to the city's failure to exercise its

vested police powers to prevent such wholesale unlawful discrimination.

127.   The regulatory scheme of defendant further prohibits plaintiffs as a practical matter from

bathing and maintaining hygiene including access to hot water (multiple restrictions on kindling fires);

including for warmth, personal comfort, and to prepare food to a cooking temperature to make it safe

for consumption (lack of reasonable accommodation). The State's emergency winter shelter scheme is

predicated upon prevention of fatalities due to extreme inclement weather on a per day basis:

"Temperatures or wind chill less than 20 degrees Fahrenheit." "Temperatures less than 32 degrees

Fahrenheit with snow and/or freezing rain." Yet unsheltered persons- especially the disabled- suffer

other adverse health consequences above 32 degrees Fahrenheit. Many who are left in the terrible cold

are disabled; and are left in unsanitary conditions.




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                                       Count Ten- Arbitrary
                 42 U.S.C. § 1983 and 14th Amendment to the U.S. Constitution etc.

128.   As more fully set forth in their Motion for Continuance and herein throughout- we further
allege such state/municipal regulatory-scheme is unconstitutional under United States Constitutions and
Vermont Constitution. We contend the regulatory-scheme "shocks the conscience" or is "arbitrary" and
denies us "substantive due process" and "procedural due process" and the "equal protection of law"
such to be unconstitutional under the 14th Amendment.

                                  Preface - Second Amendment Claims

       The Second Amendment of the United States Constitution reads in relevant part: "* * *the right

of the people to keep and bear Arms, shall not be infringed. "

129.   While hardly ever cited as an affirmative landmark civil rights case, Dred Scott v. Sandford, 60

U.S. 393 (1857) for this instant case is appropriate authority. The court ruled Scott did not enjoy the

protection of the Bill of Rights because of his racial background. However, in its ruling, it implies all

free men do have the right to bear arms, as well as other rights at issue here at issue, by indicating what

would happen if Scott was indeed afforded full protection:

130. "It would give to persons of the negro race, ... the right to enter every other State whenever they
pleased, ... the full liberty ofspeech in public and in private upon all subjects upon which its own
citizens might speak; to hold public meetings upon political affairs, and to keep and carry arms
wherever they went. "
131. "The Second Amendment guarantees an individual right to possess a firearm unconnected with
service in a militia, and to use that arm for traditionally lawful purposes, such as self-defense within
the home. "District ofColumbia v. Heller, 554 U.S. 570 (2008).
132. "In Heller, we held that the Second Amendment protects the right to possess a handgun in the
home for the purpose ofself-defense. Unless considerations ofstare decisis counsel otherwise, a
provision of the Bill ofRights that protects a right that is fundamental from an American perspective
applies equally to the Federal Government and the States. We therefore hold that the Due Process
Clause of the Fourteenth Amendment incorporates the Second Amendment right recognized in Heller. "
McDonald v. City of Chicago, 561 U.S. 742 (2010).
133. "The Court has held that the Second Amendment extends, prima facie, to all instruments that
constitute bearable arms, even those that were not in existence at the time of the founding ... and that
this "Second Amendment right is fully applicable to the States ... In this case, the Supreme Judicial
Court ofMassachusetts upheld a Massachusetts law prohibiting the possession ofstun guns after
examining whether a stun gun is the type ofweapon contemplated by Congress in 1789 as being
protected by the Second Amendment... The court offered three explanations to support its holding that
the Second Amendment does not extend to stun guns. First, the court explained that stun guns are not

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protected because they were not in common use at the time of the Second Amendments enactment...
 This is inconsistent with Heller s clear statement that the Second Amendment extends ... to ...
arms ... that were not in existence at the time of the founding. .. The court next asked whether stun guns
are dangerous per se at common law and unusual ... in an attempt to apply one important limitation on
the right to keep and carry arms ... see ibid (referring to the historical tradition ofprohibiting the
carrying of 'dangerous and unusual weapons'). In so doing, the court concluded that stun guns are
 'unusual' because they are 'a thoroughly modern invention. ' * * *By equating 'unusual' with 'in
common use at the time of the Second Amendments enactment, 'the courts second explanation is the
same as the first; it is inconsistent with Heller for the same reason. Finally, the court used 'a
contemporary lens' and found 'nothing in the record to suggest that [stun guns] are readily adaptable
to use in the military. ' * * * But Heller rejected the proposition 'that only those weapons useful in
warfare are protected '* * *For these three reasons, the explanation the Massachusetts court offered
for upholding the law contradicts this Courts precedent... " Caetano v. Massachusetts. 577 U.S.
(2016) (some internal cites and quotations omitted).

                       Count Eleven - Right of the People to Keep and Bear Arms
                  42 U.S.C. § 1983 and Second Amendment to the U.S. Constitution

134.    Your plaintiffs do not desire to possess "unusual" weapons. But rather seek to vindicate their

individual Second Amendment rights to possession of all "other dangerous weapons" as proscribed

under color of 13 V.S.A. § 3905 but which are not prohibited to be possessed by non-vagrant citizens of

Vermont. Your plaintiffs, in regards to "other dangerous weapons", desire to keep and bear in their

actual or constructive possession "all instruments that constitute bearable arms" within the guarantee of

the Second Amendment for traditional purposes e.g., hunting; self-defense; marksmanship and other

sport; occupationally and non-vocationally to manufacture, repair, restore; to buy, sell, barter, use and

accept as collateral, inherit and bequeath, and otherwise speculate upon; as well as appreciate for

artistic; historic; sentimental, and other intrinsic value.

135.   More fully, Vermont has, otherwise in its statutory-scheme, broadly defined dangerous

weapons:

       "'Dangerous or deadly weapon' means any ... device, instrument, material or substance,
       whether animate or inanimate ... known to be capable ofproducing death or serious bodily
       injury.

136.   As unsheltered inhabitants, plaintiffs have need and often little choice but openly carry items

often deemed dangerous weapons e.g., axes (to kindles fires), knives (to prepare food)- but as

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reasonably apparent as plead herein vagrants often alarm and inspire fear from both public and officials

alike.

137.     Plaintiffs further assert such criminal vagrancy statute is void for vagueness e.g., "[A] penal

statute [must] define the criminal offense with sufficient definiteness that ordinary people can

understand what conduct is prohibited and, in a manner that does not encourage arbitrary and

discriminatory enforcement." Skilling v. United States, 561 U.S. 358 (2010) citing Kolender v.

Lawson, 461 U. S. 352, 357 (1983)(intemal references omitted). Plaintiffs assert "other dangerous

weapon" lacks sufficient definiteness. Similarly, "vagrant" lacks sufficient definiteness.

138.     With regards to the statutory scheme as to "dangerous or deadly weapons"- we complain such

statutes are grammatically unclear. "A person who carries a dangerous or deadly weapon, openly or

concealed ... " (emphases supplied) would alone - by having in his or her mere possession- violate the

criminal statute. That said, "dangerous or deadly weapon" in some instances are statutorily defined, see

e.g., 13 V.S.A. § 4016 (2), to also include actual use of the weapon or some element of intent:"* * *

which in the manner it is used or is intended to be used is known to be capable ofproducing death or

serious bodily injury." But no such element of intent or use is statutorily supplied with§ 3905. It thus

criminalizes mere possession.

139.     As unsheltered inhabitants, we often must exigently seek shelter upon unoccupied,

undeveloped, and unposted parcels of property. In most instances we don't know the owner of the

property, but it is most often "public" i.e., government owned. The owner or lessee may be federal,

state, or some subdivision thereof.

         "A person who carries a dangerous or deadly weapon, openly or concealed, *** or who carries
         a dangerous or deadly weapon within any state institution or upon the grounds or lands owned
         or leased for the use ofsuch institution, without the approval of the warden or superintendent of
         the institution, shall be imprisoned not more than two years or fined not more than $200. 00, or
         both." 13 V.S.A. § 4003.




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140.   Regarding§ 4003, we concede prohibiting weapons inside state institutions (or proximity to

state buildings and immediate grounds or "curtilage" thereto) (and irrespective of use or intent) is an

appropriate exercise of police powers -but obtaining advance permission from whomever

superintendent or warden as to all the lands owned or leased by Vermont and its subdivisions is onerous

burden for the unsheltered poor. Especially when the State can instead post notice upon open lands it

deems a weapon prohibition justified by public safety. In the absence we are again essentially

disenfranchised of our individual Second Amendment rights to keep and bear arms due to our status as

unsheltered transients existing in public space. Our Second Amendment guarantee is thus - as a

practical matter -by having to perform an abstract of title as we travel and having to obtain advanced

official permission- de facto conditioned upon a fiscal litmus test in which we must change our

defining homeless impoverished status into having adequate resources to perform such duties - thus

preconditions that we comply with the social norm of access private property. We allege as applied to

us - the regulatory-scheme "infringes" upon our Second Amendment guarantee.

                                       PRAYER FOR RELIEF
       WHEREFORE, Plaintiffs seek relief from this Honorable Court as follows:

1. For an injunctive order permanently enjoining and restraining Defendants from continuing and

repeating the unlawful policies, practices, and conduct complained of herein;

2. For a declaratory judgment that Defendants' policies, practices and conduct as alleged herein

were in violation of Plaintiffs' rights under the United States Constitution as set forth herein;

3. For a declaratory judgment that Defendants' policies, practices and conduct as alleged herein

were in violation of Plaintiffs' rights under the Vermont Constitution as set forth herein;

4. For a declaratory judgment that Defendants' policies, practices and conduct as alleged herein
were in violation of Plaintiffs' rights under the ADA as set forth herein;

5. For a declaratory judgment that Defendants' policies, practices and conduct as alleged herein

were in violation of Plaintiffs' rights under the Rehab Act as set forth herein;

6. For costs of suit; and

7. For such other and further relief as the Court may deem just and proper.

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              Respectfully submitted on this~     6 day ofNovember 2017 by:




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                                    CERTIFICATE OF SERVICE

       The undersigned certify a true and correct copy of the foregoing complaint was mailed via
regular mail to an attorney of record for each party on the~ day ofNovember 2017.




                                                                  Mark Flynn



                                                                  Curt Fifield




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